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AO 199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release                                            Page 1 of         3      Pages



                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                 Eastern District of California                                  FILED
                                                                                                                 Apr 11, 2022
                                                                                                             CLERK, U.S. DISTRICT COURT

UNITED STATES OF AMERICA,                                                                                  EASTERN DISTRICT OF CALIFORNIA

                                                                          )
                              v.                                          )
                                                                          )             Case No.      1:22-mj-00044-SAB
AMADEO SARABIA,                                                           )


                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:             U.S. DISTRICT COURT, 2500 Tulare Street, Fresno, California
                                                                                              Place

      U.S. MAGISTRATE JUDGE Erica P. Grosjean in Courtroom 10 (unless another courtroom is designated)

      on                                                  APRIL 15, 2022, at 2:00 PM
                                                                              Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered.




(Copies to:       Defendant (through Pretrial)               PRETRIAL SERVICES                 US ATTORNEY            US MARSHAL)
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                                                                3        3


              AMADEO SARABIA




X



    4/11/22

                             BARBARA A. McAULIFFE, U.S. MAGISTRATE JUDGE
